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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA             :
                                     :
vs.                                  : CRIMINAL NO. 16-00020-CG
                                     :
ARTHUR PENN, OLEAVIA PENN,           :
JANICE KIRKLAND,                     :
CYNTHIA BIVINS, BUFORD DAVIS,        :
CHARLOTTE DAVIS,                     :
                                     :
      Defendants.                    :

                              AMENDED ORDER

      A   pretrial   conference     was   conducted      on   March    15,   2016,

before the undersigned Magistrate Judge.              Conference participants

included Fred Tiemann, counsel for Defendant Arthur Penn, Tim

Fleming, counsel for Defendant Janice Kirkland, Larry Moorer,

counsel for Defendant Cynthia Bivins, Arthur Madden, counsel for

Defendant Buford Davis, Richard Shields, counsel for Defendant

Charlotte Davis,1 and Assistant U.S. Attorney Sinan Kalayoglu,

counsel for the Government.

      At the pretrial conference, all of the attorneys, except for




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       Mr. Shields also stood in for Mr. Arthur Powell, counsel
for Defendant Oleavia Penn, because Mr. Powell is in a capital
murder trial in state court and requested permission to be
excused from the pretrial conference.
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Mr. Madden, requested a continuance.2                       Defense counsel reported

that in addition to the discovery provided at arraignment, last

week, the Government produced approximately 20,000 new documents

and 5-6 videos.             Defense counsel, with the exception of Mr.

Madden,      argued      that    they    need       additional    time     to    review    the

voluminous discovery with their respective clients, and counsel

them       about   how    to    proceed    in        this   case.     Accordingly,        they

requested that this case be continued for one term.                              Mr. Madden

reported that his client is not requesting a continuance. Counsel

for    the    Government        voiced    no        opposition      to   the     continuance

requests.

       Upon consideration, the undersigned concludes that the ends

of     justice     served       by   continuing        this    action      for    one     term

outweighs the best interests of the public and Defendants in a

speedy trial. 18 U.S.C.A. § 3161(h)(7)(A). The record reflects

that Defendants are charged with conspiring to prepare fraudulent

tax returns and money laundering.                    They were arraigned during the

latter part of the term last month in this case that is very

document       intensive.        The     undersigned          finds      that    under     the

circumstances, continuing this action so that defense counsel

have sufficient time to prepare for trial or other resolution,

       2
       Before the conference, Mr. Shields, Mr. Powell, and Mr.
Fleming filed written motions for a continuance (Docs. 69, 71,
75).



                                                2
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and so that all Defendants can be tried together is reasonable.

18   U.S.C.A.     §3161(h)(7)(A).         Accordingly,     the    request     for      a

continuance is GRANTED.           This case is hereby CONTINUED to the May

2016 criminal term, with jury selection commencing on May 2,

2016. For purposes of the Speedy Trial Act, any delay resulting

from    this    continuance   is    excludable    pursuant       to    18   U.S.C.     §

3161(h)(7)(A).

       Counsel for all Defendants, except Buford Davis, shall file,

on or before March 22, 2016, a Speedy Trial Waiver executed by

each Defendant and his or her counsel.              The waiver shall include

language       which   reflects    that   (A)   counsel     has       discussed   the

reasons for seeking a continuance with Defendant; (B) Defendant

understands that the time requested in the motion to continue

trial of this matter will be excluded from any calculations of

time under the Speedy Trial Act; and (C) with this understanding

and knowledge, Defendant agrees to a continuance of this action

to the May 2016 trial term.

       The deadline for pretrial motions is extended to April 11,

2016.

       The Clerk is directed to refer this action to Magistrate

Judge Nelson for the scheduling of a pretrial conference.

       ORDERED this the 7th day of April, 2016.

                                                    /s/ SONJA F. BIVINS
                                              UNITED STATES MAGISTRATE JUDGE


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